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ANDRES & BERGER, P.C.
264 Kings Highway East
Haddonfield, NJ 08033
(856) 795-1444

Attorneys for plaintiffs

MB 6260
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
VERSIE L. DUPONT, general : Civil Action no.
administrator and adminis» :
trator ad_prosequendum of the : Civil Action
estate Of LAKEISHA R. MAYNER- :
DUPONT, deceased, and VERSIE : COMPLAINT AND DEMAND
L. DUPONT, individually, : FOR TRIAL BY JURY
Plaintiffs,
V.

UNITED STATES OF AMERICA;
EYTAN BARNEA M.D.; ERIC CHANG
D.O.; MARILYN GORDON M.D.;
SHAMEKA BUSSIE R.N.; DORIAN
JACKSON R.N.P.; ANAIS ORTIZ
R.N.; JOHN DOE #1-15
(fictitious); JANE ROE #1-15
(fictitious); and JOHN DOE
EMPLOYERS #1~15 (fictitious),
individually, jointly,
severally, and/or in the
alternative,

Defendants. :

 

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Plaintiff, Versie L. Dupont, general administrator and
administrator ad prosequendum of the estate of Lakeisha R.
Mayner~Dupont, deceased, and individually, residing at 1535 South
10th Street, Camden, New Jersey, by way of Complaint against
defendants, states as follows:

JURISDICTION

l. At all times relevant hereto, plaintiff Versie L.
Dupont was the general administrator and administrator ad
prosequendum of the estate of Lakeisha R. Mayner-Dupont, deceased,
the surviving spouse of decedent Lakeisha R. Mayner~Dupont, and
the father of Lee’agba Dupont and Smayrah Dupont, the surviving
children of decedent Lakeisha R. Mayner-Dupont.

2. At all times material to this Complaint, CamCare
Health Corporation was a professional association with offices
located at 817 Federal Street, Camden, New Jersey, which employed
defendants Barnea and/or Chang and/or Gordon and/or Bussie and/or
Jackson and/cr Ortiz for whom said defendants were acting as the
agents, servants, and/or employees. CamCare Health Corporation
is a federally-supported health facility and deemed community
health center under the Federal Tort Claims Act. The United
States of America is therefore a defendant for the actions and/or
inactions of defendant CamCare Health Corporation.

3. At all times material to this Complaint, defendant

Eytan Barnea M.D. was a physician licensed to practice medicine

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and/or surgery in the State of New Jersey, with offices located
at CamCare Health Corporation, 817 Federal Street, Camden, New
Jersey, who undertook and/or otherwise assisted in the diagnosis
and/or treatment and/or care of plaintiff’s decedent Lakeisha R.
Mayner-Dupont.

4. At all times material to this Complaint, defendant
Eric Chang D.O. was a physician licensed to practice medicine
and/or surgery in the State of New Jersey, with offices located
at CamCare Health Corporation, 817 Federal Street, Camden, New
Jersey, who undertook and/or otherwise assisted in the diagnosis
and/or treatment and/or care of plaintiff’s decedent Lakeisha R.
Mayner-Dupont.

5. At all times material to this Complaint, defendant
Marilyn Gordon M.D. was a physician licensed to practice medicine
and/or surgery in the State of New Jersey, with offices located
at CamCare Health Corporation, 817 Federal Street, Camden, New
Jersey, who undertook and/or otherwise assisted in the diagnosis
and/or treatment and/or care of plaintiff’s decedent Lakeisha R.
Mayner-Dupont.

6. At all times material to this Complaint, defendant
Shameka Bussie R.N. was a registered nurse with offices located
at CamCare Health Corporation, 817 Federal Street, Camden, New

Jersey, who undertook and/or otherwise assisted in the diagnosis

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and/or treatment and/or care of plaintiff’s decedent Lakeisha R.
Mayner-Dupont.

7. At all times material to this Complaint, defendant
Dorian Jackson R.N.P. was a registered nurse practitioner with
offices located at CamCare Health Corporation, 817 Federal
Street, Camden, New Jersey, who undertook and/or otherwise
assisted in the diagnosis and/or treatment and/or care of
plaintiff’s decedent Lakeisha R. Mayner-Dupont.

8. At all times material to this Complaint, defendant
Anais 0rtiz R.N. was a registered nurse with offices located at
CamCare Health Corporation, 817 Federal Street, Camden, New
Jersey, who undertook and/or otherwise assisted in the diagnosis
and/or treatment and/or care of plaintiff’s decedent Lakeisha R.
Mayner-Dupont.

9. At all times material to this Complaint, defendants
John Does #1-15 (fictitious names) were health care professionals
and/or other health care providers, however many in number, who
undertook and/or assisted and/or otherwise participated in the
diagnosis and/or treatment and/or care of plaintiff’s decedent.

10. At all times material to this Complaint, defend-
`ants Jane Roes #1-15 (fictitious names) were health care profes-
sionals and/or other health care providers, however many in

number, who undertook and/or assisted and/or otherwise

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participated in the diagnosis and/or treatment and/or care of
plaintiff’s decedent.

11. At all times material to this Complaint, defend-
ants John Doe Employers #1-15 (fictitious names) were corpora-
tions, partnerships, and/or sole proprietorships, however many in
number, who were the employers of the individual defendants
herein and/or for whom the individual defendants were acting as
the agents, servants and/or employees.

12. On September 16, 2014, plaintiff’s decedent died
as a result of the failure to diagnose cervical and/or vaginal
cancer by the aforementioned defendants, which care and/or
treatment failed to comply with the applicable standards of care.

13. The defendants named herein failed to perform the
appropriate and recommended tests to diagnose cervical cancer.
Defendants also failed to consider the appropriate testing which
should have been performed because of abnormal PAP smears ordered
by defendants. As a result, defendants caused a delay in
diagnosis of cervical cancer. At the time of her diagnosis,
Lakeisha Mayner was stage III-B, and her cervical cancer had
extended into the upper vagina. Defendants' delay in diagnosis
was the cause of extensive medical treatment and ultimately her
death.

14. Jurisdiction is vested in the United States

District Court for the District of New Jersey pursuant to the

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Federal Tort Claims Act, 28 U.S.C. Section 1346(b), 2671-2680, as
the exclusive remedy for injuries and death caused by employees
of a deemed community health center. CamCare Health Corporation
was deemed eligible for FTCA in 1996 and was eligible for FTCA
coverage at the time of this incident. Jurisdiction is further
vested because defendants Barnea and/or Chang and/or Gordon
and/or Bussie and/or Jackson and/or Ortiz were employees of
CamCare Health Corporation and therefore covered under the FTCA
at the time of the care and treatment at issue.

VENUE

 

Venue is properly laid because the acts and omissions

herein complained of occurred in this judicial district.
FIRST COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. At the time and place aforesaid and at all times
material hereto, defendants Barnea and/or Chang and/or Gordon
and/or Bussie and/or Jackson and/or Ortiz and/or John Does #1-15
and/or Jane Roes #1~15 and/or John Doe Employers #1-15 and/or
each of them were acting as the agents, servants, and/or
employees of defendant United States of America.

2. Defendant United States of America is liable for

the acts and/or omissions of its agents, servants, and/or

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employees under the doctrine of respondeat superior and/or was
itself otherwise negligent.

WHEREFORE, plaintiff demands judgment against defendant
United States of America for plaintiff’s pain, suffering, and
expenses under N.J;S.A. 2A:15-3 (or any successor statute) and
damages for wrongful death under N;J.S.A. 2A:31-l, et seq. (or any
successor statute) and/or other damages recoverable under the
laws of this state and the Federal Tort Claims Act together with
interest, counsel fees, costs of suit, and such other relief
which the Court deems equitable and just.

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Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. 0n or about December 11, 2009, and thereafter,
defendant Eytan Barnea M.D. undertook and/or otherwise assisted
in the diagnosis and/or treatment and/or care of plaintiff’s
decedent Lakeisha R. Mayner-Dupont.

2. At the time and place aforesaid and at all times
material hereto, defendant Eytan Barnea M.D. was negligent in the
diagnosis and/or treatment and/or care of plaintiff’s decedent
and/Or failed to inform plaintiff’s decedent as to her condition
and/or treatment options.

3. As a direct and proximate result of the negligence

of defendant Eytan Barnea M.D. as hereinbefore set forth,

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plaintiff’s decedent was allowed to suffer permanent injuries
leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defendant
Eytan Barnea M.D. for plaintiff’s pain, suffering, and expenses
under N.J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:31-l, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

THIRD COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

l. On or about December 11, 2009, and thereafter,
defendant Eric Chang D.O. undertook and/or otherwise assisted in
the diagnosis and/or treatment and/or care of plaintiff’s
decedent Lakeisha R. Mayner-Dupont.

2. At the time and place aforesaid and at all times
material hereto, defendant Eric Chang D.O. was negligent in the
diagnosis and/or treatment and/or care of plaintiff’s decedent
and/or failed to inform plaintiff’s decedent as to her condition
and/or treatment options.

3. As a direct and proximate result of the negligence

of defendant Eric Chang D.O. as hereinbefore set forth,

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plaintiff’s decedent was allowed to suffer permanent injuries
leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defendant
Eric Chang D.O. for plaintiff’s pain, suffering, and expenses
under N.J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:3l-1, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

FOURTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

l. On or about December 11, 2009, defendant Marilyn
Gordon M.D. undertook and/or otherwise assisted in the diagnosis
and/or treatment and/or care of plaintiff’s decedent Lakeisha R.
Mayner-Dupont.

2. At the time and place aforesaid and at all times
material hereto, defendant Marilyn Gordon M.D. was negligent in
the diagnosis and/or treatment and/or care of plaintiff’s
decedent and/Or failed to inform plaintiff’s decedent as to her
condition and/or treatment options.

3. As a direct and proximate result of the negligence

of defendant Marilyn Gordon M.D. as hereinbefore set forth,

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plaintiff’s decedent was allowed to suffer permanent injuries
leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defendant
Marilyn Gordon M.D. for plaintiff’s pain, suffering, and expenses
under N.J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:3l~1, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

FIFTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. On or about December 11, 2009, and thereafter,
defendant Shameka Bussie R.N. undertook and/or otherwise assisted
in the diagnosis and/or treatment and/or care of plaintiff’s

decedent Lakeisha R. Mayner-Dupont.

2. At the time and place aforesaid and at all times
material hereto, defendant Shameka Bussie R.N. was negligent in
the diagnosis and/or treatment and/or care of plaintiff’s
decedent and/or failed to inform plaintiff’s decedent as to her
condition and/or treatment options.

3. As a direct and proximate result of the negligence

of defendant Shameka Bussie R.N. as hereinbefore set forth,

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plaintiff’s decedent was allowed to suffer permanent injuries
leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defendant
Shameka Bussie R.N. for plaintiff’s pain, suffering, and expenses
under N.J.S.A. 2A:15~3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:31-1, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

SIXTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. 0n or about December 11, 2009, and thereafter,
defendant Dorian Jackson R.N.P. undertook and/or otherwise
assisted in the diagnosis and/or treatment and/or care of
plaintiff’s decedent Lakeisha R. Mayner-Dupont.

2. At the time and place aforesaid and at all times
material hereto, defendant Dorian Jackson R.N.P. was negligent in
the diagnosis and/or treatment and/or care of plaintiff’s
decedent and/or failed to inform plaintiff’s decedent as to her
condition and/or treatment options.

3. As a direct and proximate result of the negligence

of defendant Dorian Jackson R.N.P. as hereinbefore set forth,

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plaintiff’s decedent was allowed to suffer permanent injuries
leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defendant
Dorian Jackson R.N.P. for plaintiff's pain, suffering, and
expenses under N.J.S.A. 2A:15-3 (or any successor statute) and
damages for wrongful death under NZJ.S.A. 2A:31-1, et seq. (or any
successor statute) and/or other damages recoverable under the
laws of this state and the Federal Tort Claims Act together with
interest, counsel fees, costs of suit, and such other relief
which the Court deems equitable and just.

SEVENTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. On or about December ll, 2009, and thereafter,
defendant Anais Ortiz R.N. undertook and/or otherwise assisted in
the diagnosis and/or treatment and/or care of plaintiff’s
decedent Lakeisha R. Mayner-Dupont.

2. At the time and place aforesaid and at all times
material hereto, defendant Anais Ortiz R.N. was negligent in the
diagnosis and/or treatment and/or care of plaintiff’s decedent
and/or failed to inform plaintiff’s decedent as to her condition
and/or treatment options.

3. As a direct and proximate result of the negligence

of defendant Anais Ortiz R.N. as hereinbefore set forth,

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plaintiff’s decedent was allowed to suffer permanent injuries
leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defendant
Anais Ortiz R.N. for plaintiff's pain, suffering, and expenses
under N;J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N;J.S.A. 2A:31-1, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

EIGHTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

l. At the time and place aforesaid and at all times
material hereto, defendants John Does #1-15 and/or each of them
undertook and/or otherwise assisted in the diagnosis and/or
treatment and/or care of plaintiff’s decedent.

2. At the time and place aforesaid and at all times
material hereto, defendants John Does #1-15 and/or each of them
were negligent in the diagnosis and/or treatment and/or care of
plaintiff's decedent.

3. As a direct and proximate result of the negligence

of defendants John Does #1-15 and/or each of them as hereinbefore

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set forth, plaintiff’s decedent was allowed to suffer permanent
injuries leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defend-
ants John Does #1-15, individually, jointly, severally, and/or in
the alternative, for plaintiff's pain, suffering, and expenses
under N.J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:31-1, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

NINTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. At the time and place aforesaid and at all times
material hereto, defendants Jane Roes #1-15 and/or each of them
undertook and/or otherwise assisted in the diagnosis and/or
treatment and/Or care of plaintiff's decedent.

2. At the time and place aforesaid and at all times
material hereto, defendants Jane Roes #1-15 and/or each of them
were negligent in the diagnosis and/or treatment and/or care of
plaintiff's decedent.

3. As a direct and proximate result of the negligence

of defendants Jane Roes #1-15 and/or each of them as hereinbefore

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set forth, plaintiff's decedent was allowed to suffer permanent
injuries leading to her death on September 16, 2014.

WHEREFORE, plaintiff demands judgment against defend-
ants Jane Roes #1-15, individually, jointly, severally, and/or in
the alternative, for plaintiff's pain, suffering, and expenses
under N;J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:31~l, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this
state and the Federal Tort Claims Act together with interest,
counsel fees, costs of suit, and such other relief which the
Court deems equitable and just.

TENTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. At the time and place aforesaid and at all times
material hereto, defendants Barnea and/or Chang and/or Gordon
and/or Bussie and/or Jackson and/or Ortiz and/or John Does #1-15
and/or Jane Roes #1-15 and/or each of them were acting as the
agents, servants, and/or employees of defendants John Doe
Employers #1-15 and/or each of them.

2. Defendants John Doe Employers #1~15 are liable for
the acts and/or omissions of their agents, servants, and/or
employees under the doctrine of respondeat superior and/or were

themselves otherwise negligent.

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WHEREFORE, plaintiff demands judgment against defend-
ants John Doe Employers #1-15, individually, jointly, severally,
and/or in the alternative, for plaintiff's pain, suffering, and
expenses under N.J.S.A. 2A:15~3 (or any successor statute) and
damages for wrongful death under N.J.S.A. 2A:3l-l, et seq. (or any
successor statute) and/or other damages recoverable under the
laws of this state and the Federal Tort Claims Act together with
interest, counsel fees, costs of suit, and such other relief
which the Court deems equitable and just.

ELEVENTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

1. At the time and place aforesaid and at all times
material hereto, plaintiff Versie L. Dupont was the husband of
Lakeisha R. Mayner-Dupont and entitled to his wife's support,
society, services, advice, counsel, guidance, and/or consortium.

2. As a direct and proximate result of the negligence
of defendants and/or each of them as hereinbefore set forth,
plaintiff Versie L. Dupont has been deprived of his wife's
support, society, services, advice, counsel, guidance, and/or
consortium.

WHEREFORE, plaintiff demands judgment against
defendants United States of America; Eytan Barnea M.D.; Eric

Chang D.O.; Marilyn Gordon M.D.; Shameka Bussie R.N.; Dorian

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Jackson, R.N.P.; Anais Ortiz R.N.; John Does #1-15 (fictitious
names); Jane Roes #1-15 (fictitious names); and John Doe
Employers #1-15 (fictitious names); individually, jointly,
severally, and/or in the alternative, for plaintiff's pain,
suffering, and expenses under N.J.S.A. 2A:15-3 (or any successor
statute) and damages for wrongful death under N.J.S.A. 2A:31-1,
et seq. (or any successor statute) and/or other damages recover-
able under the laws of this state and the Federal Tort Claims Act
together with interest, counsel fees, costs of suit, and such
other relief which the Court deems equitable and just.
THIRTEENTH COUNT

Plaintiff repeats and realleges each and every preced-
ing paragraph of this Complaint as if fully set forth herein.

WHEREFORE, plaintiff demands judgment against defend-
ants United States of America; Eytan Barnea M.D.; Eric Chang
D.O.; Marilyn Gordon M.D.; Shameka Bussie R.N.; Dorian Jackson,
R.N.P.; Anais Ortiz R.N.; John Does #1-15 (fictitious names);
Jane Roes #1-15 (fictitious names); and John Doe Employers #1-15
(fictitious names); individually, jointly, severally, and/or in
the alternative, for plaintiff's pain, suffering, and expenses
under N.J.S.A. 2A:15-3 (or any successor statute) and damages for
wrongful death under N.J.S.A. 2A:31-1, et seq. (or any successor
statute) and/or other damages recoverable under the laws of this

state and the Federal Tort Claims Act together with interest,

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counsel fees, costs of suit, and such other relief which the

Court deems equitable and just.

ANDRES & BERGER, P.C.
Attorneys for plaintiff

 

PLEASE TAKE NOTICE that plaintiff demands trial by jury

as to all issues pursuant to F.R.C.P. 38.

ANDRES & BERGER, P.C.
Attorneys for plaintiff

 

Q.E.U_E_I_QBLI_Q_N
In accordance with 28 U.S.C. §1746 and R.4:5-l, the
undersigned hereby certifies that there are no other proceedings
either pending or contemplated, with the exception of a federal
claim to be filed under the Federal Tort Claims Act, with respect
to the matter in controversy and there are no additional known
parties who should be joined to this action at this time.

ANDRES & BERGER, P.C.
Attorneys for plaintiff

 

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DEMAND FOR DISCLOSURE OF NON-PARTIES

Please take notice that plaintiff hereby demands strict
compliance with R.4:5-1(b)(2), which requires that “each party
shall disclose in the certification the names of any non»party
who should be joined in the action pursuant to R.4:28 or who is
subject to joinder pursuant to R.4:29-1(b) because of potential
liability to any party on the basis of the same transactional
facts.”

Plaintiff hereby demands that defendants review all
available records, undertake reasonable investigation, and
determine the identity of any other individuals or entities who
should be joined in this action pursuant to R.4:5-1(b)(2).

The failure to identify non-parties pursuant to this
rule will result in an application for sanctions as well as for
expenses incurred in connection with the discovery of individuals

who should have been identified pursuant to the rule.

ANDRES & BERGER, P.C.
Attorneys for plaintiff

 

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PLEASE TAKE NOTICE that Michael S. Berger, Esquire, is
hereby designated trial counsel on behalf of plaintiff in the

above-entitled action pursuant to R.4:5-1(c).

ANDRES & BERGER, P.C.
Attorn~. for plaintiff

     

 

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In accordance with F.R.C.P. 11, the undersigned hereby
certifies as follows:

l. I have read the content of the above pleading.

2. To the best of my knowledge, information, and/or
belief, formed after reasonable inquiry, this pleading is well
grounded in fact and warranted by existing law or a good-fath
argument for the extension, modification, or reversal of existing
law.

3. lt is not intended for any improper purpose such as

to harass or to cause unnecessary delay or cost to litigation.

ANDRES & BERGER, P.C.
Attorneys for plaintiffs

 

 

DATED: June 4, 2015

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